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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


TAMMY KIDWELL, et al.                                          CIVIL ACTION

VERSUS                                                         NO. 18-2052 c/w 19-11419

RUBY IV, L.L.C., et al.                                       SECTION M (5)
                                                              Pertains to all cases


                                      ORDER & REASONS

       Before the Court is a motion by plaintiffs for partial summary judgment as to: (1) the

corporate defendants’ status as a single integrated enterprise and joint employer under the Fair

Labor Standards Act (“FLSA”); and (2) individual defendant Nadia Esmail’s status as an employer

under the FLSA.1 In response, defendants Ruby Enterprises, LLC, Ruby Management, Inc., Ruba,

LLC, Ruba III, LLC, Ruby IV, LLC, Ruby V, LLC, Ruby VI, LLC, Ruby VII, LLC, Ruby VIII,

LLC, Ruby I.X., LLC, Ruby X, LLC, Ruby XI, LLC, Ruby XII, LLC, Ruby XIV, LLC, Ruby XV,

LLC, Nadia Esmail, and Mohammad Esmail (collectively “Defendants”) state that they do not

oppose the ultimate determinations, for the purposes of this litigation, that all corporate defendants

comprise a single integrated enterprise and joint employer as defined by the FLSA, and that Nadia

Esmail is an employer for the purposes of the FLSA. 2 Accordingly, having considered the parties

memoranda,3 the record and the applicable law,

       IT IS ORDERED that plaintiffs’ motion for partial summary judgment (R. Doc. 399) is

GRANTED, and for the purposes of this litigation, all corporate defendants (Ruby Enterprises,

LLC, Ruby Management, Inc., Ruba, LLC, Ruba III, LLC, Ruby IV, LLC, Ruby V, LLC, Ruby



       1
         R. Doc. 399.
       2
         R. Doc. 431 at 1.
       3
         R. Docs. 399, 431 & 447.
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VI, LLC, Ruby VII, LLC, Ruby VIII, LLC, Ruby I.X., LLC, Ruby X, LLC, Ruby XI, LLC, Ruby

XII, LLC, Ruby XIV, LLC, and Ruby XV, LLC) comprise a single integrated enterprise and joint

employer as defined by the FLSA, and Nadia Esmail is an employer for the purposes of the FLSA.



       New Orleans, Louisiana, this 28th day of August, 2020.




                                                  _________________________________
                                                  BARRY W. ASHE
                                                  UNITED STATES DISTRICT JUDGE




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